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                                         IN THE UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF TEXAS
                                                  MARSHALL DIVISION

                    JOE ANDREW SALAZAR,                                §
                                                                       §
                                   Plaintiff,                          §
                                                                       §
                    v.                                                 §         Case No. 2:16-cv-01096-JRG-RSP
                                                                       §
                    HTC CORPORATION,                                   §         Jury Trial Demanded
                                                                       §
                                   Defendant.                          §

                                           PLAINTIFF’S FINAL TRIAL EXHIBIT LIST

PRESIDING JUDGE                               PLAINTIFF’S ATTORNEYS                                   DEFENDANT’S ATTORNEYS
Hon. Rodney Gilstrap                          Dariush Keyhani                                         Fred Williams
                                              Andy Tindel                                             Mario Apreotesi
                                              Frances Stephenson                                      Todd Landis
                                              Blake Thompson                                          Gil Gillam
TRIAL DATE(S)                                 COURT REPORTER                                          COURTROOM DEPUTY
May 7-10, 2018                                Shelly Holmes                                           Jan Lockhart

PLF       DATE             DATE                                         EXHIBIT DESCRIPTION                                            BATES NUMBER
NO.      OFFERED        ADMITTED
1                      05/07/18    U.S. Patent No. 5,802,467                                                                           SALAZAR 496 -
                                                                                                                                       SALAZAR 521
2                                  The prosecution history of the application that resulted in the ‘467 Patent                         SALAZAR 1 -
                                                                                                                                       SALAZAR 559
3                      05/10/18    Notice of Allowability re the patent application for the ‘467 (February 17, 1998) (part of the      SALAZAR 287 -
                                   prosecution history of the ‘467 patent)                                                             SALAZAR 292

4                      05/10/18    Election/Restriction re application for the ‘467 Patent (April 27, 1997) (part of the application   SALAZAR 293 -
                                   of the ‘467 Patent)                                                                                 SALAZAR 295
                                                                        1
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5                   Contract between Joe Andrew Salazar and Luis Molero Castro                                       SALAZAR 596 -
                                                                                                                     SALAZAR 598
6                   Schematic Diagrams                                                                               SALAZAR 845 -
                                                                                                                     SALAZAR 847
7                   Bill of Materials                                                                                SALAZAR 848 -
                                                                                                                     SALAZAR 851
8        05/07/18   Asset Assignment and Debt Satisfaction Agreement between Innovative Intelcom Industries          SALAZAR 559
                    and Joe Andrew Salazar
12                  HTC Corporation’s Responses to Salazar’s First Set of Interrogatories (No. 1-10) dated June 7,   NONE
                    2017

13                  HTC Corporation’s Responses to Salazar’s Second Set of Interrogatories (No. 11-23) dated         NONE
                    November 2, 2017

14                  HTC Corporation’s First Amended/Supplemental Responses to Salazar’s First Set of                 NONE
                    Interrogatories (No. 1-10) dated November 27, 2017

15                  HTC Corporation’s Amended/Supplemental Responses to Salazar’s Second Set of                      NONE
                    Interrogatories (No. 11-23) dated November 27, 2017

16                  HTC Corporation’s Responses to Salazar’s Third Set of Interrogatories dated December 12,         NONE
                    2017

17       05/08/18   HTC Spreadsheet                                                                                  HTC036724

18.a     05/09/18   HTC Corporation’s Master Purchase Agreement with AT&T Mobility with all amendments               HTC038818 -
                                                                                                                     HTC039032
18.b     05/09/18   HTC Corporation’s Equipment Addendum with T-Mobile                                               HTC039033 -
                                                                                                                     HTC039061
19       05/09/18   HTC Corporation Master Purchase Agreement with Verizon Wireless with all amendments              HTC039062 -
                                                                                                                     HTC039139
20       05/09/18   Distribution Agreement between HTC Corporation and HTC America, Inc.                             HTC037528 -
                                                                                                                     HTC037547
31       05/08/18   2013 HTC Annual Report (reference in Blok report)                                                HTC037706 -
                                                                                                                     HTC037867
81                  https://www.eia.gov/todayinenergy/detail.php?id=30132 (reference in Blok report)                 NONE

92                  http://getpronto.com/en (reference in Blok report)                                               NONE


                                                        2
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105                  https://www.bloomberg.com/gadfly/articles/2016-08-22/apple-and-samsung-still-dominate-       NONE
                     where-it-mattersprofits (reference in Blok report)

107       05/08/18   https://www.mymobilenation.com/_media/images/support_library/HTC%20One%20Key%20F             NONE
                     eatures.pdf (reference in Blok report)

108                  Sense 5 Application Brief 2/7/13 (reference in Blok report)                                  HTC029830 -
                                                                                                                  HTC030052
109                  HTC One Global Keynote Speaker Notes 9/6/17 (reference in Blok report)                       HTC031829 -
                                                                                                                  HTC031885
113                  HTC One (M8) Training Deck (reference in Blok report)                                        HTC034005 -
                                                                                                                  HTC034081
131                  http://www.htc.com/us/smartphones/htc-one-m7/ (reference in Griffin report)                  NONE

134.c                HTC024869; HTC026869;HTC027441; HTC027753                                                    HTC027441,
                     Block Diagram                                                                                HTC027453
143.c                HTC027756; HTC027773 : HTC027774; HTC029084 (references in Griffin report)                   HTC029080 -
                     HTC Corporation Feature Sheet                                                                HTC029087
148                  Https://www.att.com/support_static_files/manuals/HTC_One.pdf (reference in Griffin report)   NONE

161.a                HTC004821 : HTC004932                                                                        HTC004821 -
                     IR Remote, Sense 5, (Android) Functional Specification (references in Griffin report)        HTC004876
161.b                HTC004821 : HTC004932                                                                        HTC004877 -
                     TV Sense 5+, Approved Wireframes (references in Griffin report)                              HTC004890
161.c                HTC004821 : HTC004932                                                                        HTC004891 -
                     HTC Gesture Remote, Sense 5 (references in Griffin report)                                   HTC004932
163                  https://www.htcdev.com/devcenter/opensense-sdk/htc-ir-api (reference in Griffin report)      NONE

175       05/09/18   HTC016841                                                                                    HTC016840 -
                     Schematic (reference in Griffin report)                                                      HTC016853
186                  HTC020813, HTC020867, HTC020816                                                              HTC020813 -
                     Schematic (references in Griffin report)                                                     HTC020872
246                  HTC One M7 User Guide (reference to Endnote 35 in Griffin report)                            NONE

247                  HTC One M8 User Guide (reference to Endnote 37 in Griffin report)                            NONE

248                  Audio/Video Remote Control Profile (reference to Endnote 131 in Griffin report)              NONE


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249     05/07/18   Photo of Hughes Remote Phone

250                Photo of Hughes Remote Phone

251     05/07/18   Photo of 650D My One Remote

252                Photo of My1Remote

253                Photos of Hughes Remote Phone, 650D My One Remote and My1Remote

254                Photos of 650D My One Remote, Hughes Remote Phone and My1Remote

255                Photos of My1Remote packaging

256                Photos of Hughes Remote Phone packaging

257                Photos of Hughes Remote Phone

258                Photo of 650D My One Remote

259     05/07/18   Photos of 650D My One Remote

260                Hughes Remote Phone

261                650D My One Remote

262                My1 Remote




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